          Case 19-30258-KLP                      Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18                              Desc Main
                                                           Document     Page 1 of 51
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Eastern
 ____________________             Virginia
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                                           .
                                            Gymboree Group, Inc
                                           ______________________________________________________________________________________________________



                                            Giraffe New OPCO, Inc.
2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer           
                                           ___ ___
                                                         
                                                      – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            71         Stevenson Street
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 2200
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            San Francisco              CA       94105
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            San Francisco, CA
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 http://www.gymboree.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 19-30258-KLP                Doc 1      Filed 01/17/19 Entered 01/17/19 01:22:18                                 Desc Main
                                                         Document     Page 2 of 51
                 Gymboree Group, Inc .
Debtor          _______________________________________________________                          Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above
                                          ✔




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              
                                              ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔
                                           Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                               4/01/19 and every 3 years after that).
                                                           
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         ✔ No
      filed by or against the debtor
      within the last 8 years?            Yes.      District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                           See Rider 1                                                        Affiliate
      business partner or an             
                                         ✔ Yes.     Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                                 &BTUFSO%JTUSJDUPG7JSHJOJB
                                                    District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                       Case number, if known ________________________________


     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
           Case 19-30258-KLP             Doc 1        Filed 01/17/19 Entered 01/17/19 01:22:18                                 Desc Main
                                                      Document     Page 3 of 51
Debtor         Gymboree Group, Inc .
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       
                                       ✔
                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have      
                                       ✔
                                         No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                            Number        Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________       _______     ________________
                                                                            City                                          State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name       ____________________________________________________________________

                                                         Phone              ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  
                                       ✔
                                         Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000
                                                                        ✔
                                                                                                                   50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million            
                                                                        ✔
                                                                          $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 19-30258-KLP                Doc 1       Filed 01/17/19 Entered 01/17/19 01:22:18                                 Desc Main
                                                        Document     Page 4 of 51
Debtor          Gymboree Group, Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million
                                                                               ✔
                                                                                                                       $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                          
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8   /s/ Jon W. Kimmins
                                            ____________________________________________                Jon W. Kimmins
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Authorized Signatory
                                            Title _________________________________________




18.   Signature of attorney
                                        8    /s/ Michael A. Condyles
                                            _____________________________________________              Date         
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Michael A. Condyles
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Kutak Rock LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            901         East Byrd Street, Suite 1000
                                            _________________________________________________________________________________________________
                                            Number      Street
                                             Richmond
                                            ____________________________________________________            VA
                                                                                                           ____________  23219-4071
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             804-343-5227
                                            ____________________________________                            michael.condyles@kutakrock.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             27807
                                            ______________________________________________________  VA
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
Case 19-30258-KLP            Doc 1      Filed 01/17/19 Entered 01/17/19 01:22:18                    Desc Main
                                        Document     Page 5 of 51



            Fill in this information to identify the case:


        United States Bankruptcy Court for the:

                      Eastern District of Virginia
                                   (State)
            Case number
            (if known):                                                                    Check if this is an
                    __________________                  Chapter     11                       amended filing

                                           Rider 1
            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors”), filed a petition in the United States Bankruptcy Court
for the Eastern District of Virginia (this “Court”) for relief under chapter 11 of title 11 of the United
States Code. The Debtors will move for joint administration of their cases under the case number
assigned to the chapter 11 case of Gymboree Group, Inc.1

        •     Gymboree Distribution, Inc.
        •     Gymboree Group, Inc.
        •     Gymboree Holding Corporation
        •     Gymboree Intermediate Corporation
        •     Gymboree Island, LLC (Puerto Rico)
        •     Gymboree Manufacturing, Inc.
        •     Gymboree Operations, Inc.
        •     Gymboree Retail Stores, LLC
        •     Gymboree Wholesale, Inc.
        •     Gym-Card, LLC
        •     Gym-Mark, Inc.




1
  On June 12, 2017, certain of the Debtors’ predecessors in interest commenced chapter 11 cases before this Court
(the “Prior Cases”), which were jointly administered under the caption In re The Gymboree Corp., No. 17-32986
(KLP). On September 7, 2017, a plan of reorganization was confirmed in the Prior Cases, and such plan went
effective on September 29, 2017. On January 19, 2018, all of the Prior Cases, other than the case of The Gymboree
Corp., were closed.
                                          Case 19-30258-KLP               Doc 1      Filed 01/17/19 Entered 01/17/19 01:22:18                                      Desc Main
       Fill in this information to identify the case:                                Document     Page 6 of 51
       Debtor Name Gymboree Group, Inc., et al.
       United States Bankruptcy Court for the: Eastern District of Virginia                                     Check if this is an amended filing
       (Richmond Division)

       Case number (if known): __________________________
Fill in this information to identify the case:


  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                                                                              12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
  claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
  resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

       Name of creditor and complete mailing     Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code               of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                            trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                            loans,              unliquidated,   claim.
                                                                                            professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                            services, and                       if partially         collateral or setoff               claim
                                                                                            government                          secured
                                                                                            contracts)

     HANSOLL TEXTILE LTD.
     DAVID PARK                                  HANSOLL TEXTILE LTD.
     HANSOLL TEXTILE BLDG.                       DAVID PARK
   1 268 SONGPA-DAERO                            PHONE: 822-3287-8084                       TRADE PAYABLE                                                                                                               $12,094,790
     SONGPA-GU                                   FAX:
     SEOUL                                       EMAIL: davidpark@hansoll.com
     KOREA




     TIP TOP FASHIONS LTD                        TIP TOP FASHIONS LTD
     MR. TOFAZAL AL                              MR. TOFAZAL AL
   2 INDUSTRIAL PLOTE NO-1(5THFLOOR), BL         PHONE: 8809666778800                       TRADE PAYABLE                                                                                                                 $9,705,592
     DHAKA                                       FAX:
     BANGLADESH                                  EMAIL: ali_t@standard-group.com




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                     page 1
                                          Case 19-30258-KLP                Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18                                      Desc Main
                                                                                    Document     Page 7 of 51
Debtor         Gymboree Group, Inc., et al.
               ______________________________________________                                 Case number (if known) ____________
                Name

       Name of creditor and complete mailing    Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code              of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                           trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                           loans,              unliquidated,   claim.
                                                                                           professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                           services, and                       if partially         collateral or setoff               claim
                                                                                           government                          secured
                                                                                           contracts)

      PAN PACIFIC CO LTD.
      SIMON CHONG                              PAN PACIFIC CO LTD.
      12, DIGITAL-RO 31-GIL                    SIMON CHONG
  3   GURO-DONG 197-21                         PHONE: 82-2-3494-9135                       TRADE PAYABLE                                                                                                                 $7,128,557
      GURO-GU                                  FAX:
      SEOUL, 08380                             EMAIL: simonchong@pti-pacific.com
      KOREA


     MAWNA FASHIONS LTD                        MAWNA FASHIONS LTD
     ABDUL KADER ANU                           ABDUL KADER ANU
   4 BGMEA COMPLEX (12TH FLOOR) 23/1           PHONE: 880-2-7790060-67                     TRADE PAYABLE                                                                                                                 $5,578,573
     DHAKA, 1215                               FAX:
     BANGLADESH                                EMAIL: anu@dbl-group.com



     CONCEPT KNITTING LIMITED
                                               CONCEPT KNITTING LIMITED
     AHMED ARIF BILLAH
                                               AHMED ARIF BILLAH
     HOUSE# B-105 (1ST FLOOR), ROAD # 8
   5 NEW DOHS, MOHAKHALI                       PHONE: 8809814730                           TRADE PAYABLE                                                                                                                 $5,285,564
                                               FAX:
     DHAKA, 1206
                                               EMAIL: arif@mascoknit.com
     BANGLADESH


     ROYAL CLASSIC MILLS (P) LTD
     MR. GOPAL                                 ROYAL CLASSIC MILLS (P) LTD
     31, MANGALAM ROAD                         MR. GOPAL
   6 PULIYAMARA THOTTAM, KATAPALAYAM,          PHONE: 91-421-3011300                       TRADE PAYABLE                                                                                                                 $4,698,146
     TIRUPPUR                                  FAX:
     TAMIL NADU, 641604                        EMAIL: gopal@rcg.in
     INDIA

     SHARTEX INTERNATIONAL TRADING             SHARTEX INTERNATIONAL TRADING
     HARRY MENG                                HARRY MENG
     HELENA YAO                                HELENA YAO
   7 10F BLOCK A                               PHONE: 8809666778800                        TRADE PAYABLE                                                                                                                 $4,454,648
     688 DALIAN ROAD                           FAX:
     SHANGHAI, 200082                          EMAIL: menghua@shartex.net
     CHINA                                     helena_yao@shartex.net




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                            Case 19-30258-KLP            Doc 1      Filed 01/17/19 Entered 01/17/19 01:22:18                                      Desc Main
                                                                                    Document     Page 8 of 51
Debtor         Gymboree Group, Inc., et al.
               ______________________________________________                                 Case number (if known) ____________
                Name

       Name of creditor and complete mailing    Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code              of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                           trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                           loans,              unliquidated,   claim.
                                                                                           professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                           services, and                       if partially         collateral or setoff               claim
                                                                                           government                          secured
                                                                                           contracts)
     LIM LINE APPAREL CO. LTD.
                                                LIM LINE APPAREL CO. LTD.
     MR.SONGCHAI SANKINGTHONG
                                                MR.SONGCHAI SANKINGTHONG
     MR. PAIBOON PURITEERANGKUL
                                                MR. PAIBOON PURITEERANGKUL
     844/60 CHAROEN KRUNG ROAD SOI WAT
   8 CHAN NAI                                   PHONE: (66) 02 289 4688                    TRADE PAYABLE                                                                                                                 $4,196,095
                                                FAX:
     BANG KHO LAEM
                                                EMAIL: song@limline.co.th
     BANGKOK, 10120
                                                paiboonp@limline.co.th
     THAILAND

                                                TONGXIANG COLAX INDUSTRIAL
     TONGXIANG COLAX INDUSTRIAL
                                                JASON YU
     JASON YU
                                                FIONA LIU
     FIONA LIU
   9 ZHEJIANG ZHEJIANG PROVINCE                 PHONE: 0573-88922968                       TRADE PAYABLE                                                                                                                 $4,129,538
                                                FAX:
     JIAXING CITY
                                                EMAIL: jasonyu@colax.cn
     CHINA
                                                fionaliu@colax.cn


      EASTMAN EXPORTS GLOBAL CLTHG
                                                EASTMAN EXPORTS GLOBAL CLTHG
      MR. CHANDRANAN
                                                MR. CHANDRANAN
      5/59, 1ST STREET, SRI LAKSHMI NAGAR
   10 PITCHAMPALAYAM PUDUR, TIRUPPUR            PHONE: 91-421-4301234                      TRADE PAYABLE                                                                                                                 $3,965,829
                                                FAX:
      TAMIL NADU, 641603
                                                EMAIL: nc@eastmanexports.com
      INDIA


                                                SUNTEX GARMENTS LTD
      SUNTEX GARMENTS LTD
                                                SUN ZHEN
      SUN ZHEN
                                                GRACE YAN
      GRACE YAN
   11 A-308 DALANG WOOLEN TRADE CTR             PHONE: 86-25-84677942                      TRADE PAYABLE                                                                                                                 $3,926,128
                                                FAX:
      DONGGUAN
                                                EMAIL: zhunsun@njsuntex.com
      CHINA
                                                graceyan@njsuntex.com

      PT. MONDRIAN
      GUNAWAN SUTANTO                           PT. MONDRIAN
      JL. KH. HASYIM ASARI BY PASS NO.171       GUNAWAN SUTANTO
   12 SROGO, MOJAYAN, KLATEN TENGAH,            PHONE: +62 272 323181                      TRADE PAYABLE                                                                                                                 $3,890,112
      KABUPATEN KLATEN                          FAX:
      JAWA TENGAH, 57416                        EMAIL: gunawan@mondrian.co.id
      INDONESIA




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                          Case 19-30258-KLP              Doc 1         Filed 01/17/19 Entered 01/17/19 01:22:18                                   Desc Main
                                                                                       Document     Page 9 of 51
Debtor         Gymboree Group, Inc., et al.
               ______________________________________________                                 Case number (if known) ____________
                Name

       Name of creditor and complete mailing    Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code              of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                           trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                           loans,              unliquidated,   claim.
                                                                                           professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                           services, and                       if partially         collateral or setoff               claim
                                                                                           government                          secured
                                                                                           contracts)
      WEIHAI REAP INTERNATIONAL TRADING CO.,   WEIHAI REAP INTERNATIONAL TRADING CO.,
      LTD                                      LTD
      ALAN YANG                                ALAN YANG
      DAISY SUN                                DAISY SUN
   13 16F, JIAHE INTERNATIONAL MANSION                                                     TRADE PAYABLE                                                                                                                 $3,754,344
                                               PHONE: 86-631-5961737
      NO. 55, SOUTH HAIBIN ROAD                FAX:
      WEIHAI, SHANDONG, 264200                 EMAIL: alan_yang@whreap.com
      CHINA                                    daisy_sun@whreap.com

      PAO YUAN GARMENTS CORP.                  PAO YUAN GARMENTS CORP.
      HENRY HO                                 HENRY HO
      NICKY T.                                 NICKY T.
   14 2F,3, LANE 616                           PHONE: 886-2-22259090                       TRADE PAYABLE                                                                                                                 $3,703,117
      CHUNG SHAN RD., SEC. 2, CHUNGHO CITY     FAX:
      NEW TAIPEI CITY                          EMAIL: Henry@py.com.tw
      TAIWAN                                   nicky_t@py.com.tw

      PT. BINA BUSANA INTERNUSA
      TOTO SUBIANTO                            PT. BINA BUSANA INTERNUSA
      JL. INSPEKSI CAKUNG DRAIN KM.2 SEMPER    TOTO SUBIANTO
   15 TIMUR                                    PHONE: 62-21-44833077                       TRADE PAYABLE                                                                                                                 $3,369,774
      CAKUNG CILINCING                         FAX:
      NORTH JAKARTA, 14260                     EMAIL: toto.subianto@bbigarment.co.id
      INDONESIA

      PANWIN DESIGNS LIMITED
      MOHAMMAD MOHSEN                          PANWIN DESIGNS LIMITED
      CS-576, BANIARCHALA, PANTAX MORE         MOHAMMAD MOHSEN
   16 P.O- BHABANIPUR, P.S- GAZIPUR SADAR      PHONE: + 88 01713450819                     TRADE PAYABLE                                                                                                                 $3,241,312
      SAFARI PARK RD                           FAX:
      1740                                     EMAIL: mohsen@panwin.org
      BANGLADESH


      KG FASHION CO., LTD.
                                               KG FASHION CO., LTD.
      JAMES JUNG
                                               JAMES JUNG
      39-8, SAMSEONG-DONG
   17 GANGNAM-GU                               PHONE: (82)-2-546-2536                      TRADE PAYABLE                                                                                                                 $3,208,388
                                               FAX:
      SEOUL
                                               EMAIL: jamesjung@kgfashion.com
      KOREA




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                          Case 19-30258-KLP                 Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18                                    Desc Main
                                                                                     Document      Page 10 of 51
Debtor         Gymboree Group, Inc., et al.
               ______________________________________________                                 Case number (if known) ____________
                Name

       Name of creditor and complete mailing    Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code              of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                           trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                           loans,              unliquidated,   claim.
                                                                                           professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                           services, and                       if partially         collateral or setoff               claim
                                                                                           government                          secured
                                                                                           contracts)
                                               GENERAL LION FOOTWEAR INTL LTD
      GENERAL LION FOOTWEAR INTL LTD           EDDIE LAU
      EDDIE LAU                                MINSA TANG
      MINSA TANG                               PAT KAN
   18 PAT KAN                                  PHONE: 852 -2173 1103                       TRADE PAYABLE                                                                                                                 $3,092,991
      1 EXPO DRIVE                             FAX:
      WANCHAI                                  EMAIL: eddielau@glfhk.com.hk
      HONG KONG                                minsa@glfhk.com.hk
                                               pat@glfhk.com.hk
      LI & FUNG                                LI & FUNG
      ROBERT SCHMIDT                           ROBERT SCHMIDT
      DAVID FISHER                             DAVID FISHER
      MARC COMPAGNON                           MARC COMPAGNON
   19 LIFUNG TOWER                             PHONE: 212-715-9527                         EXPENSE                                                                                                                       $3,065,070
      11TH FLOOR                               FAX: 212-715-8000
      888 CHEUNG SHA WAN ROAD                  EMAIL: RSchmidt@KRAMERLEVIN.com
      KOWLOON                                  DFisher@KRAMERLEVIN.com
      HONG KONG                                marccompagnon@lifung.com

      AFA SOURCING LIMITED
                                               AFA SOURCING LIMITED
      MICHAEL
                                               MICHAEL
      RM 3116-18 31/F
   20 1 HUNG TO RD                             PHONE: 852-39065777                         TRADE PAYABLE                                                                                                                 $3,000,644
                                               FAX:
      KWUN TONG
                                               EMAIL: michael.kule@afasourcing.com
      HONG KONG


                                               SIMON PROPERTY GROUP
                                               PERVIS BEARDEN, JAMIE CHRISTMAN
      SIMON PROPERTY GROUP
                                               PHONE: 317-263-7608
      PERVIS BEARDEN, JAMIE CHRISTMAN
   21 225 WEST WASHINGTON STREET               317-989-8988                                RENT                                                                                                                          $2,632,171
                                               FAX:
      INDIANAPOLIS, IA 46204
                                               EMAIL: pbearden@simon.com
                                               jchristman@simon.com

      JUBILEE TEX
      MR. BALU                                 JUBILEE TEX
      RADAKRISHNAN NAGAR, KUMARSWAMI           MR. BALU
   22 NAGAR                                    PHONE: +91 421 2471720                      TRADE PAYABLE                                                                                                                 $2,625,142
      PICHAM PALAYAM PUTHUR, TIRUPPUR          FAX:
      TAMIL NADU, 641603                       EMAIL: balu@jubileetex.net
      INDIA




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                          Case 19-30258-KLP               Doc 1      Filed 01/17/19 Entered 01/17/19 01:22:18                                     Desc Main
                                                                                    Document      Page 11 of 51
Debtor          Gymboree Group, Inc., et al.
                ______________________________________________                                Case number (if known) ____________
                Name

       Name of creditor and complete mailing    Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code              of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                           trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                           loans,              unliquidated,   claim.
                                                                                           professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                           services, and                       if partially         collateral or setoff               claim
                                                                                           government                          secured
                                                                                           contracts)

      NEXT COLLECTIONS LTD
                                               NEXT COLLECTIONS LTD
      MR. AZAD
                                               MR. AZAD
      MOUZA - DIYA KHALI
   23 1323-1325 BERON SAVAR                    PHONE: 880-XX-XXXXXXX                       TRADE PAYABLE                                                                                                                 $2,583,902
                                               FAX:
      DHAKA
                                               EMAIL: azad@hameemgroup.com
      BANGLADESH



                                               BUNZL PLC
      BUNZL PLC
                                               PAUL LUXEM
      PAUL LUXEM
   24 7351 BOONE AVE N                         PHONE: 614-670-1816                         EXPENSE                                                                                                                       $2,182,350
                                               FAX:
      BROOKLYN PARK, MN 55428-1007
                                               EMAIL: pluxem@ddsjit.com


      XIAMEN WELLEAST CO., LTD                 XIAMEN WELLEAST CO., LTD
      ALEX CHAI                                ALEX CHAI
      NANCH ZENG                               NANCH ZENG
      ALISON CHAI                              ALISON CHAI
   25 29/F, LIXIN SQUARE                       PHONE: 86-13532830918                       TRADE PAYABLE                                                                                                                 $2,163,866
      NO.90, HUBIN SOUTH ROAD                  FAX:
      SIMING ROAD, XIAMEN                      EMAIL: alex@welleast.com.cn
      FUJIAN, 361003                           nancy@welleast.com.cn
      CHINA                                    alison@welleast.com.cn
      ZHANGJIAGANG DONGDU TEXTILE              ZHANGJIAGANG DONGDU TEXTILE
      GE HUI HUA                               GE HUI HUA
      MAO XIN HONG                             MAO XIN HONG
   26 398 CHANG'AN ROAD                        PHONE: 0512-58224515                        TRADE PAYABLE                                                                                                                 $2,108,357
      YANGSHE TOWN                             FAX:
      ZHANGJIAGANG, 215600                     EMAIL: ghh@ddtextile.com
      CHINA                                    mxh@ddtextile.com

                                               YUMARK ENTERPRISES CORP.
      YUMARK ENTERPRISES CORP.
                                               ALLEN FU
      ALLEN FU
                                               FANNY CHENG
      FANNY CHENG
   27 SEC2 TUNGHWA S RD, 14F NO 67.            PHONE: 886 2 27003435                       TRADE PAYABLE                                                                                                                 $2,053,052
                                               FAX:
      TA AN CHU
                                               EMAIL: Allen@yumark.com.tw
      TAIWAN
                                               fanny@yumark.com.tw




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                          Case 19-30258-KLP              Doc 1       Filed 01/17/19 Entered 01/17/19 01:22:18                                     Desc Main
                                                                                    Document      Page 12 of 51
Debtor          Gymboree Group, Inc., et al.
                ______________________________________________                                Case number (if known) ____________
                Name

       Name of creditor and complete mailing    Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code              of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                           trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                           loans,              unliquidated,   claim.
                                                                                           professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                           services, and                       if partially         collateral or setoff               claim
                                                                                           government                          secured
                                                                                           contracts)

                                               GREAT LAKES WOODWORKING CO, INC
      GREAT LAKES WOODWORKING CO, INC          BILL WALSH, BRENDA TONMBLIN
      BILL WALSH, BRENDA TONMBLIN              PHONE:
   28 11345 MOUND ROAD                                                                     EXPENSE                                                                                                                       $1,728,759
                                               FAX: 313-892-8503
      DETROIT, MI 48212                        EMAIL: bwalsh@glwdetroit.com
                                               btonmblin@glwdetroit.com


      PRO-HOT ENTERPRISE CO., LTD.
                                               PRO-HOT ENTERPRISE CO., LTD.
      ECHO LIAO
                                               ECHO LIAO
      4TH FLOOR, NO. 12, LANE 181, SECTION 2
   29 JUI ZONG ROAD, NEI HU DISTRICT           PHONE: 886-2-2799-5848                      TRADE PAYABLE                                                                                                                 $1,687,169
                                               FAX:
      TAIPEI, 11494
                                               EMAIL: Echo@prohot-tp.com
      TAIWAN



      GLORY INDUSTRIES LTD                     GLORY INDUSTRIES LTD
      MS. TAJRINA MANNAN                       MS. TAJRINA MANNAN
   30 12 SENANG CRESCENT                       PHONE: 88-01966673294                       TRADE PAYABLE                                                                                                                 $1,548,073
      SINGAPORE, 416586                        FAX: 64420442
      SINGAPORE                                EMAIL: tajrinamannan@gmail.com


      PT. DAN LIRIS
      AMUMPUNI                                 PT. DAN LIRIS
      KELURAHAN BANARAN                        AMUMPUNI
   31 KECAMATAN GROGOL                         PHONE: 62 271 714 400 ext 237               TRADE PAYABLE                                                                                                                 $1,505,904
      KABUPATEN SUKOHARJO, CENTRAL JAVA        FAX:
      57193                                    EMAIL: amumpuni@danliris.com
      INDONESIA


      TEXTILES CAMONES S.A.                    TEXTILES CAMONES S.A.
      CARLOS CAMONES                           CARLOS CAMONES
   32 PERÚ, AV STA JOSEFINA                    PHONE: (511) 411-2970 EXT. 502              TRADE PAYABLE                                                                                                                 $1,473,067
      PUENTE PIEDRA                            FAX: 511 5480005
      PERU                                     EMAIL: CCGV@TEXTILESCAMONES.COM




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                           Case 19-30258-KLP               Doc 1       Filed 01/17/19 Entered 01/17/19 01:22:18                                    Desc Main
                                                                                      Document      Page 13 of 51
Debtor         Gymboree Group, Inc., et al.
               ______________________________________________                                  Case number (if known) ____________
                Name

       Name of creditor and complete mailing     Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code               of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                            trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                            loans,              unliquidated,   claim.
                                                                                            professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                            services, and                       if partially         collateral or setoff               claim
                                                                                            government                          secured
                                                                                            contracts)

      TOOKU TRADING CORPORATION LTD
                                                 TOOKU TRADING CORPORATION LTD
      GREG
                                                 GREG
      UNIT 1305 13 F PROSPERITY PLACE
   33 6 SHING YIP STREET                         PHONE: 13515253361                         TRADE PAYABLE                                                                                                                 $1,389,603
                                                 FAX:
      KWUN TONG
                                                 EMAIL: greggruber@jdunited.com
      HONG KONG


      QINGDAO YIJIA INTER-COM CO.LTD             QINGDAO YIJIA INTER-COM CO.LTD
      MIKE TIAN                                  MIKE TIAN
      STEVEN REN                                 STEVEN REN
   34 ROOM 829 830 BUILDING A NO 6               PHONE: 13356855685                         TRADE PAYABLE                                                                                                                 $1,297,520
      HONGKONG MIDDLE ROAD SHINAN                FAX:
      QINGDAO CN                                 EMAIL: mike@tang-buy.com
      HONG KONG                                  steven@tang-buy.com


      WING FORWARD CO., LTD
                                                 WING FORWARD CO., LTD
      SAM HUI
                                                 SAM HUI
      UNIT 8B, 4/F.
   35 HILDER CENTRE, 2 SUNG PING ST.             PHONE: 852-27660398                        TRADE PAYABLE                                                                                                                 $1,233,527
                                                 FAX:
      HUNGHOM
                                                 EMAIL: kshui@earylfashion.com
      HONG KONG


                                                 GLIDER CO. LTD.
      GLIDER CO. LTD.
                                                 KATHLEEN WANG
      KATHLEEN WANG
                                                 WYNE SUN
      WYNE SUN
   36 10643 4F., NO.222, SEC.2, JINSHAN S. RD.   PHONE: 886-2-2321-1885                     TRADE PAYABLE                                                                                                                 $1,218,187
                                                 FAX:
      TAIPEI
                                                 EMAIL: Kathleen.wang@glider.com.tw
      TAIWAN (R.O.C.)
                                                 Ahwen.sun@gymail.com


      NAM PO FOOTWEAR LTD.
                                                 NAM PO FOOTWEAR LTD.
      KAREN
                                                 KAREN
      4/F, GEMMY LTD. BLDG.
   37 12 HUNG TO RD                              PHONE: 2389--0581                          TRADE PAYABLE                                                                                                                 $1,195,541
                                                 FAX: 86 757-8666 5468
      KWUN TONG, KOWLOON
                                                 EMAIL: karenmiao@nanbao1992.com
      HONG KONG




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                          Case 19-30258-KLP                Doc 1         Filed 01/17/19 Entered 01/17/19 01:22:18                                  Desc Main
                                                                                        Document      Page 14 of 51
Debtor         Gymboree Group, Inc., et al.
               ______________________________________________                                  Case number (if known) ____________
                Name

       Name of creditor and complete mailing     Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code               of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                            trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                            loans,              unliquidated,   claim.
                                                                                            professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                            services, and                       if partially         collateral or setoff               claim
                                                                                            government                          secured
                                                                                            contracts)

      TOP RISE INDUSTRIAL CO. LTD.               TOP RISE INDUSTRIAL CO. LTD.
      KATHERINE LAI                              KATHERINE LAI
      VIRGINIA CHOY                              VIRGINIA CHOY
   38 B 9/F, HOP HING, INDUSTRIAL BUILDING       PHONE: 852-27447910                        TRADE PAYABLE                                                                                                                 $1,139,654
      704 CASTLE PEAK                            FAX:
      KOWLOON                                    EMAIL: Katherine@toprise-gmt-fty.com
      HONG KONG                                  virginia@toprise-gmt-fty.com

      WINGA GARMENT FACTORY
                                                 WINGA GARMENT FACTORY
      RAYMOOD CHEUNG
                                                 RAYMOOD CHEUNG
      JOJO CHOU
                                                 JOJO CHOU
      UNIT 23-28A, PROFIT INDUSTRIAL BUILDING,
   39 11/F., 1-15                                PHONE: (852) 2421-2127                     TRADE PAYABLE                                                                                                                 $1,093,653
                                                 FAX: 852-2489-1108
      KWAI FUNG CRESCENT
                                                 EMAIL: raymond.cheung@winga.com.hk
      KWAI CHUNG, NEW TERRITORIES
                                                 jojo.chow@winga.com.hk
      HONG KONG

      J.K. KNIT COMPOSITE LTD
                                                 J.K. KNIT COMPOSITE LTD
      MD. TANVIR
                                                 MD. TANVIR
      GREEN ORLANDO (3RD & 4TH FLOOR)
   40 KA-42/4, PRAGATI SARANI                    PHONE: 88-XX-XXXXXXX                       TRADE PAYABLE                                                                                                                 $1,053,853
                                                 FAX: 8419476
      BARIDHARA, DHAKA 1229
                                                 EMAIL: tanvir@jkgroupbd.com
      BANGLADESH


      SPRINGFIELD GARMENT CO. LTD.               SPRINGFIELD GARMENT CO. LTD.
      MRS.LEKPHONG CHULPHONGSATHORN              MRS.LEKPHONG CHULPHONGSATHORN
      MS.SOMRAK PIRAPLADISAI                     MS.SOMRAK PIRAPLADISAI
   41 33 SOI 33/1 PETCHKASEM ROAD                PHONE: 662-8688145-7                       TRADE PAYABLE                                                                                                                 $1,049,699
      BANG WA, PHASI CHAROEN                     FAX:
      BANGKOK, 10160                             EMAIL: lekphong@springfieldgarment.com
      THAILAND                                   somrak@springfieldgarment.com


      TA TRADING CO., LTD
                                                 TA TRADING CO., LTD
      BYUNG-GIL KO
                                                 BYUNG-GIL KO
      2F, 277-25, SUNGSU 2GA
   42 3 DONG                                     PHONE: 82-2-6910-7709                      TRADE PAYABLE                                                                                                                   $992,969
                                                 FAX: 82 2 3436 7801
      SUNG DONG-GU, SEOUL
                                                 EMAIL: bgko1@ta-trading.co.kr
      KOREA




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                           Case 19-30258-KLP              Doc 1        Filed 01/17/19 Entered 01/17/19 01:22:18                                     Desc Main
                                                                                      Document      Page 15 of 51
Debtor          Gymboree Group, Inc., et al.
                ______________________________________________                                  Case number (if known) ____________
                 Name

        Name of creditor and complete mailing    Name, telephone number and email address    Nature of claim       Indicate if   Amount of claim
        address, including zip code              of creditor contact                         (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                             trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                             loans,              unliquidated,   claim.
                                                                                             professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                             services, and                       if partially         collateral or setoff               claim
                                                                                             government                          secured
                                                                                             contracts)
                                                BROOKFIELD PROPERTY PARTNERS
                                                TORY BENSON, JERRY MATTIOLI
      BROOKFIELD PROPERTY PARTNERS
                                                PHONE: 312-960-5000
      TORY BENSON, JERRY MATTIOLI
                                                312-960-5220
   43 250 VESEY STREET                          FAX: 212-417-7214
                                                                                              RENT                                                                                                                           $977,843
      15TH FLOOR
                                                EMAIL:
      NEW YORK, NY 10281
                                                tory.benson@brookfieldpropertiesretail.com
                                                jerry.mattioli@brookfieldpropertiesretail.com


                                                COGNIZANT TECHNOLOGY SOLUTIONS
      COGNIZANT TECHNOLOGY SOLUTIONS
                                                ROOPESH CUPPALA
      ROOPESH CUPPALA
   44 500 FRANK W. BURR BOULEVARD               PHONE: 925-967-6168                          EXPENSE                                                                                                                         $917,005
                                                FAX: 201-801-0243
      TEANECK, NJ 07666
                                                EMAIL: roopesh_cuppala@gymboree.com




      TDX TECH                                  TDX TECH
      KELLY BENNEWITZ                           KELLY BENNEWITZ
   45 5735 OLD SHAKOPEE ROAD W                  PHONE: 952-936-9280                          EXPENSE                                                                                                                         $864,757
      SUITE 100                                 FAX:
      BLOOMINGTON, MN 55437                     EMAIL: kbennewitz@tdxtech.com



      EASTMAN EXPORTS GLOBAL CLTHG
                                                EASTMAN EXPORTS GLOBAL CLTHG
      MR. CHANDRANAN
                                                MR. CHANDRANAN
      5/591, SRI LAKSHMI NAGAR
   46 PITCHAMPALAYAM PUDUR                      PHONE: 91-421-4301234                        TRADE PAYABLE                                                                                                                   $749,699
                                                FAX: 91-421-4301205
      TIRUPUR, TAMILNADU 641 603
                                                EMAIL: nc@eastmanexports.com
      INDIA


        BIGGER TEXTILE HOLDINGS LTD.
                                                BIGGER TEXTILE HOLDINGS LTD.
        IVAN WONG
                                                IVAN WONG
        RM D 6/F GEMSTAR TWR
   47                                           PHONE: 852 -2335 6568                        TRADE PAYABLE                                                                                                                   $739,181
        23 MAN LOK ST                           FAX:
        HUNG HOM
                                                EMAIL: ivan@bigger.com.hk
        HONG KONG




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                          Case 19-30258-KLP              Doc 1       Filed 01/17/19 Entered 01/17/19 01:22:18                                     Desc Main
                                                                                    Document      Page 16 of 51
Debtor          Gymboree Group, Inc., et al.
                ______________________________________________                                Case number (if known) ____________
                Name

       Name of creditor and complete mailing    Name, telephone number and email address   Nature of claim       Indicate if   Amount of claim
       address, including zip code              of creditor contact                        (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured,
                                                                                           trade debts, bank    contingent,    fill in total claim amount and deduction for value of collateral or setoff to calculate unsecured
                                                                                           loans,              unliquidated,   claim.
                                                                                           professional         or disputed    Total claim,         Deduction for value of             Unsecured
                                                                                           services, and                       if partially         collateral or setoff               claim
                                                                                           government                          secured
                                                                                           contracts)

      PT. SANSAN SAUDARATEX JAYA
                                               PT. SANSAN SAUDARATEX JAYA
      BUDI DANUBRATA
                                               BUDI DANUBRATA
      JALAN CIBALIGO NO.33
   48 CIBEUREUM, CIMAHI SEL                    PHONE: +62 22 6033-788                      TRADE PAYABLE                                                                                                                   $732,779
                                               FAX: 62-XX-XXXXXXX-6074802
      KOTA CIMAHI, JAWA BARAT 40522
                                               EMAIL: budi@ptsansan.co.id
      INDONESIA


      MERIT TAT INTERNATIONAL LTD.
                                               MERIT TAT INTERNATIONAL LTD.
      ROBERT LOK
                                               ROBERT LOK
      RM G H 5/F TUNG KIN FTY BLDG
   49 200 - 202 TSAT TSE MUI RD                PHONE: 852-25633398                         TRADE PAYABLE                                                                                                                   $724,930
                                               FAX: 852-28055071
      NORTH POINT
                                               EMAIL:
      HONG KONG


      VIJAY GARMENTS LIMITED
                                               VIJAY GARMENTS LIMITED
      MR.SHARAN REDDY
                                               MR.SHARAN REDDY
      PLOT # D3(2)
   50 MEPZ (SPECIAL ECONOMIC ZONE)             PHONE: 98842 57691                          TRADE PAYABLE                                                                                                                   $712,213
                                               FAX:
      TAMBARAM, TAMIL NADU
                                               EMAIL: sharanredy@vijaygroup.org
      INDIA




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
Case 19-30258-KLP    Doc 1      Filed 01/17/19 Entered 01/17/19 01:22:18       Desc Main
                               Document      Page 17 of 51


                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           RICHMOND DIVISION


                                                    )
In re:                                              )     Chapter 11
                                                    )
GYMBOREE GROUP, INC.,                               )     Case No. 19- ______ (___)
                                                    )
                    Debtor.                         )
                                                    )



                     LIST OF EQUITY SECURITY HOLDERS

 Equity Holders (Type of      Address of Equity Holder    Class / Kind of   Percentage
        Holding)                                             Interest        of Equity
                                                                                Held
  Gymboree Intermediate         71 Stevenson Street,      Common Stock         100%
         Corp.                       Suite 2200
                              San Francisco, California
                                       94105
Case 19-30258-KLP        Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18          Desc Main
                                 Document      Page 18 of 51


                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              RICHMOND DIVISION

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 GYMBOREE GROUP, INC.,                                )      Case No. 19- ______ (___)
                                                      )
                       Debtor.                        )
                                                      )



                        CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                   Shareholder                         Approximate Percentage of Shares
                                                                    Held

           Gymboree Intermediate Corp.                                100%
          Case 19-30258-KLP                       Doc 1      Filed 01/17/19 Entered 01/17/19 01:22:18                           Desc Main
                                                            Document      Page 19 of 51
 Fill in this information to identify the case and this filing:


                Gymboree Group, Inc.
 Debtor Name __________________________________________________________________
                                            Eastern                              Virginia
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                 (State)
 Case number (,INQRZQ):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              6FKHGXOH$%$VVHWV±5HDODQG3HUVRQDO3URSHUW\ (Official Form 206A/B)

              6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\ (Official Form 206D)

              6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV (Official Form 206E/F)

              6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV (Official Form 206G)

              6FKHGXOH+&RGHEWRUV(Official Form 206H)

              6XPPDU\RI$VVHWVDQG/LDELOLWLHVIRU1RQ,QGLYLGXDOV (Official Form 206Sum)

              Amended 6FKHGXOH ____


         ✔
               &KDSWHURU&KDSWHU&DVHV/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW8QVHFXUHG&ODLPVDQG$UH1RW,QVLGHUV (Official Form 204)

                                                         List of Equity Security Holders and Corporate Ownership Statement.
         ✔
               Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     
        Executed on ______________                            8   /s/ Jon W. Kimmins
                                                                 _________________________________________________________________________
                           MM / DD / YYYY                         Signature of individual signing on behalf of debtor



                                                                   Jon W. Kimmins
                                                                  ________________________________________________________________________
                                                                  Printed name

                                                                  Authorized Signatory
                                                                  ______________________________________
                                                                  Position or relationship to debtor



Official Form 202                               Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 19-30258-KLP         Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18              Desc Main
                                   Document      Page 20 of 51


                                  GYMBOREE GROUP, INC.

ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS

                                          January 15, 2019

       The undersigned, being the members of the Board of Directors (the “Board”) of Gymboree
Group Inc., a Delaware corporation (the “Company”), acting by written consent without a meeting
pursuant to Section 141(f) of the Delaware General Corporation Law (as amended from time to
time) and the Bylaws of the Company (as amended from time to time), do hereby adopt and
approve, effective as of the date first set forth above, the following resolutions (the “Resolutions”),
which shall have the same force and effect for all purposes as if such action had been taken and
adopted at a formal meeting:

         WHEREAS, the Board has reviewed the materials presented by management and the
financial, legal, and other advisors of the Company and has held numerous discussions regarding
such materials and the liabilities, obligations, and liquidity situation (including current and future
liquidity needs) of the Company, the strategic alternatives available to the Company, and the
impact of the foregoing on the businesses and operations of the Company;

        WHEREAS, the Board has had the opportunity to consult with management and the
financial, legal, and other advisors of the Company and fully consider each of the strategic
alternatives available to the Company;

        WHEREAS, the Board has reviewed and considered the advice and recommendations of
the management of the Company and the Company’s financial, legal, and other advisors as to the
relative risks and benefits of filing for relief under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”);

         WHEREAS, the Company is the sole member of each of Gymboree Retail Stores, LLC, a
California limited liability company (“Gymboree Retail”), and Gymboree Island, LLC, a limited
liability company organized under the laws of the Commonwealth of Puerto Rico (“Gymboree
Island”);

         WHEREAS, the Board has reviewed the materials presented by management and the
financial, legal, and other advisors of each of Gymboree Retail and Gymboree Island and has held
numerous discussions regarding such materials and the liabilities, obligations, and liquid ity
situation (including current and future liquidity needs) of each of Gymboree Retail and Gymboree
Island, the strategic alternatives available to each of Gymboree Retail and Gymboree Island, and
the impact of the foregoing on the businesses and operations of each of Gymboree Retail and
Gymboree Island;

        WHEREAS, the Board has had the opportunity to consult with management and the
financial, legal, and other advisors of each of Gymboree Retail and Gymboree Island and has fully
considered each of the strategic alternatives available to each of Gymboree Retail and Gymboree
Island;



#4838-7272-4867
Case 19-30258-KLP          Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18               Desc Main
                                    Document      Page 21 of 51



        WHEREAS, the Board has reviewed and considered the advice and recommendations of
the management of each of Gymboree Retail and Gymboree Island and their respective financial,
legal, and other advisors as to the relative risks and benefits of filing for relief under the provisions
of chapter 11 of the Bankruptcy Code;

         WHEREAS, the Board has been presented with and reviewed the Asset Purchase
Agreement (the “Asset Purchase Agreement”), substantially on the terms presented to the Board,
to be entered into by and among (i) the Company and its subsidiaries signatory thereto
(collectively, the “Seller”), and (ii) Special Situations Investing Group, Inc., a Delaware
corporation (“Buyer”), pursuant to which, among other things, the Seller will sell, assign, and
transfer to Buyer, and Buyer will acquire, assume, and accept the transfer from Seller of, certain
contracts, lease agreements, intellectual property, and e-commerce assets and liabilities (as more
particularly described therein) on the terms and subject to the conditions set forth therein
(collectively, the “Sale”);

        WHEREAS, in furtherance of the transactions contemplated by the Asset Purchase
Agreement, the Board has determined that it is necessary and advisable for the Seller to execute
certain other documents, agreements, instruments, and certificates as may be contemplated or
required by the Asset Purchase Agreement (collectively, and including the Asset Purchase
Agreement and all schedules, exhibits, annexes, and attachments thereto, the “Transaction
Documents”);

        WHEREAS, in the best judgment of the Board, the Board has determined that it is
desirable and in the best interests of the Seller and its creditors, equityholders, employees, and
other parties-in-interest, to enter into the Asset Purchase Agreement and the other Transaction
Documents and to execute, deliver, and consummate the transactions contemplated thereby,
including the Sale;

         WHEREAS, the Board has been presented with and reviewed the Agency Agreement (the
“Agency Agreement”), substantially on the terms presented to the Board, to be entered into by and
among the Company, for itself and on behalf of Gymboree, Inc., a corporation formed by the laws
of New Brunswick, Canada (“Gymboree Canada”), each as a debtor in possession, and Great
American Group, LLC, Tiger Capital Group, LLC, Gordon Brothers Retail Partners, LLC, and
Hilco Merchant Resources, LLC (collectively, the “Agent”), pursuant to which, among other
things, the Agent will act as the Company’s exclusive agent for the limited purposes of selling
merchandise from each of the Company’s and Gymboree Canada’s retail store locations and
disposing of merchandise owned by each of the Company and Gymboree Canada (as more
particularly described therein) on the terms and subject to the conditions set forth therein
(collectively, the “Liquidation”);

        WHEREAS, in furtherance of the transactions contemplated by the Agency Agreement,
the Board has determined that it is necessary and advisable for the Company to execute certain
other documents, agreements, instruments, and certificates as may be contemplated or required by
the Agency Agreement (collectively, and including the Agency Agreement and all schedules,
exhibits, annexes, and attachments thereto, the “Agency Transaction Documents”); and



                                                   2
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 22 of 51


        WHEREAS, in the best judgment of the Board, the Board has determined that it is
desirable and in the best interests of the Company and its creditors, equityholders, employees, and
other parties-in-interest, to enter into the Agency Agreement and the other Agency Transaction
Documents and to execute, deliver, and consummate the transactions contemplated thereby,
including the Liquidation.

       NOW, THEREFORE, BE IT:

Approval of Filing of Bankruptcy Petition

        RESOLVED, that, in the best judgment of the Board, it is desirable and in the best interests
of the Company and its creditors, equityholders, employees, and other parties-in-interest, that the
Company file, or cause to be filed, a voluntary petition for relief under the provisions of chapter
11 of the Bankruptcy Code (the case so commenced, the “Chapter 11 Case”);

         RESOLVED, that Shaz Kahng, President and Chief Executive Officer of the Company,
Jon Kimmins, Chief Financial Officer and Treasurer of the Company, Kimberly Holtz MacMillan,
Vice President, General Counsel, and Secretary of the Company, and any other officer of the
Company specifically designated by the foregoing officers (each, an “Authorized Officer” and
collectively, the “Authorized Officers”) be, and each of them hereby is, authorized, empowered,
and directed, in the name and on behalf of the Company, to (i) execute and file, or cause to be
executed and filed, with the United States Bankruptcy Court for the Eastern District of Virginia
(the “Bankruptcy Court”) at such time as any Authorized Officer executing the same shall
determine, all petitions, schedules, lists, motions, applications, pleadings, and other necessary
papers or documents, including any amendments thereto; and (ii) take any and all actions, and
perform any and all further deeds, that they deem necessary, advisable, or appropriate to obtain
relief under the provisions of chapter 11 of the Bankruptcy Code or in connection with the Chapter
11 Case, with a view to the successful prosecution of such Chapter 11 Case;

        RESOLVED, that the Authorized Officers of the Company be, and each of them hereby
is, authorized, empowered, and directed to adopt and execute, in the name and on behalf of the
Company (i) as the sole member of Gymboree Retail, the Written Consent of the Sole Member of
Gymboree Retail, substantially in the form of Exhibit A attached hereto, and (ii) as the sole
member of Gymboree Island, the Written Consent of the Sole Member of Gymboree Island,
substantially in the form of Exhibit B attached hereto;

Retention of Advisors

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the law firm of
Milbank, Tweed, Hadley & McCloy LLP (“Milbank”) as general bankruptcy counsel to represent,
assist, and advise the Company in carrying out its duties under the Bankruptcy Code and to take
any and all actions to advance the Company’s rights and obligations, including filing any
pleadings, in connection with the Chapter 11 Case; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon filing of the Chapter



                                                 3
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                  Document      Page 23 of 51


11 Case, and (iii) cause to be executed and filed an appropriate application with the Bankruptcy
Court for authority to retain the services of Milbank;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Kutak
Rock LLP (“Kutak”) as local counsel to represent and advise the Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance its rights and
obligations in connection with the Chapter 11 Case; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of the Chapter
11 Cases, and (iii) cause to be executed and filed an appropriate application with the Bankruptcy
Court for authority to retain the services of Kutak;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ (i) Stifel, Nicolaus
& Company, Incorporated (“Stifel”) as investment banker and financial advisor and (ii) Berkeley
Research Group, LLC (“BRG”) as financial advisor, each to represent and assist the Company in
carrying out its duties under the Bankruptcy Code and to take any and all actions to advance the
Company’s rights and obligations in connection with the Chapter 11 Case; and, in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to (i) execute
appropriate retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon
the filing of the Chapter 11 Case, and (iii) cause to be executed and filed appropriate applications
with the Bankruptcy Court for authority to retain each of the services of Stifel and BRG;

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Prime
Clerk LLC (“Prime Clerk”) as claims, balloting, and noticing agent to represent and assist the
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance the Company’s rights and obligations; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of the Chapter
11 Cases, and (iii) cause to be executed and filed an appropriate application with the Bankruptcy
Court for authority to retain the services of Prime Clerk;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Hilco
Real Estate, LLC (“Hilco”) as real estate consultant to represent and assist the Company in carrying
out its duties under the Bankruptcy Code; and, in connection therewith, the Authorized Officers
be, and each of them hereby is, authorized, empowered, and directed to (i) execute appropriate
retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of
the Chapter 11 Case, and (iii) cause to be filed appropriate applications with the Bankruptcy Court
for authority to retain the services of Hilco;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed to employ any other professionals, including, without limitation,
attorneys, financial advisors, investment bankers, accountants, tax advisors, and claims agents, as



                                                 4
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 24 of 51


they deem necessary, advisable, or appropriate, in their sole discretion, to assist the Company in
carrying out its duties under the Bankruptcy Code; and, in connection therewith, the Authorized
Officers be, and each of them hereby is, authorized, empowered, and directed to (i) execute
appropriate retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon
the filing of the Chapter 11 Case, and (iii) cause to be filed appropriate applications with the
Bankruptcy Court for authority to retain the services of any other professionals as they shall, in
their business judgment, deem necessary, advisable, or appropriate;

Approval of Asset Purchase Agreement

        RESOLVED, that (i) the Sale, (ii) the form, terms, and provisions of the Asset Purchase
Agreement and each of the other Transaction Documents, with such modifications to the
Transaction Documents as the Authorized Officers shall approve (including, without limitation ,
any additions, deletions, or changes to the Asset Purchase Agreement or any additions, deletions,
or changes to any schedules, exhibits, annexes, and attachments thereto), and (iii) the execution,
delivery, and performance of the transactions contemplated by the Asset Purchase Agreement and
each of the other Transaction Documents, in each case, are hereby authorized, approved, ratified,
and confirmed in all respects;

        RESOLVED, that the Authorized Officers are hereby authorized, empowered, and
directed, in the name and on behalf of the Seller, to execute, deliver, and perform each of the
Transaction Documents and the transactions contemplated thereby, and any and all such other
documents, agreements and instruments as may be deemed necessary or advisable in order to carry
out the purpose and intent of the foregoing Resolutions, in each case, with such Authorized
Officer’s execution or action to be conclusive evidence of the exercise by such Authorized Officer
of the discretionary authority herein conferred;

Approval of Agency Agreement

         RESOLVED, that (i) the Liquidation, (ii) the form, terms, and provisions of the Agency
Agreement and each of the other Agency Transaction Documents, with such modifications to the
Agency Transaction Documents as the Authorized Officers shall approve (including, without
limitation, any additions, deletions, or changes to the Agency Agreement or any additions,
deletions, or changes to any schedules, exhibits, annexes, and attachments thereto) and (iii) the
execution, delivery and performance of the transactions contemplated by the Agency Agreement
and each of the other Agency Transaction Documents, in each case, are hereby authorized,
approved, ratified, and confirmed in all respects;

        RESOLVED, that the Authorized Officers are hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to execute, deliver, and perform each of the
Agency Transaction Documents and the transactions contemplated thereby, and any and all such
other documents, agreements and instruments as may be deemed necessary or advisable in order
to carry out the purpose and intent of the foregoing Resolutions, in each case, with such Authorized
Officer’s execution or action to be conclusive evidence of the exercise by such Authorized Officer
of the discretionary authority herein conferred;

Debtor-In-Possession Term Loan Agreement


                                                 5
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 25 of 51


        WHEREAS, the Company (the “Lead Borrower”), the other Borrowers party thereto from
time to time, Gymboree Intermediate Corporation, a Delaware corporation (“Intermediate”), the
other Guarantors party thereto from time to time, each a debtor and debtor-in-possession (together
with Intermediate, the “Guarantors”) in cases pending under Chapter 11 of the Bankruptcy Code,
the Lenders and Special Situations Investing Group, Inc., as administrative agent (in such capacity,
including any successor thereof, the “Administrative Agent”) and as collateral agent (in such
capacity, including any successor thereof, the “Collateral Agent”, and together with the
Administrative Agent, the “DIP Term Loan Agent”) for the Lenders, propose to enter into that
certain Debtor-in-Possession Term Loan Agreement (the “DIP Term Loan Agreement”), dated as
of the date hereof;

        WHEREAS, the obligation of the Lenders to make each Loan to the Borrower under the
DIP Term Loan Agreement is subject to the Company having satisfied certain conditions described
in the DIP Term Loan Agreement;

       WHEREAS, the Company will receive benefits from the receipt of the Loans made by the
Lenders under the DIP Term Loan Agreement; and

         WHEREAS, it is in the best interests of the Company to enter into the DIP Term Loan
Agreement and each agreement, document, instrument, certificate, recording and filing relating
thereto.

        RESOLVED, that the form, terms and provisions of the DIP Term Loan Agreement and
each of the other Loan Documents (as defined below), and the Company’s incurrence and
performance of its obligations under the DIP Term Loan Agreement (including, without limitation ,
the “Obligations”, as defined therein) and each of the other Loan Documents (as defined below),
including any borrowings of Loans in such amounts as may be available to it from time to time
thereunder and the consummation of the transactions contemplated thereby, be, and hereby are, in
all respects, authorized and approved; and further resolved, that the Company’s Authorized
Officers, acting alone or with one or more Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver, and to cause the Company to incur and perform its obligations
under, the DIP Term Loan Agreement and each of the instruments and documents listed below
and all other agreements, documents and instruments contemplated by any of the foregoing or
requested by the DIP Term Loan Agent in connection with any of the foregoing (together with the
DIP Term Loan Agreement, the “Loan Documents”), and each of the documents and instruments
contemplated thereby, in the name and on behalf of the Company under its seal or otherwise,
substantially in the forms presented to the Board, with such changes therein and modifications and
amendments thereto as any Authorized Officer may in his or her sole discretion approve, which
approval shall be conclusively evidenced by his or her execution thereof:

       (a)     the Fee Letter;

       (b)     the Security Agreement;

       (c)     the Orders;

       (d)     any intercreditor agreement;



                                                 6
Case 19-30258-KLP        Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                  Document      Page 26 of 51


       (e)     UCC financing statements, fixture filings, and other instruments as may be
               reasonably requested by the DIP Term Loan Agent or as may be necessary or
               appropriate to create, preserve and perfect the security interests purported to be
               created by the Collateral Documents;

       (f)     such other security agreements, pledge agreements, deeds of trust, mortgages,
               notices, financing statements, tax affidavits, reaffirmation agreements, and other
               instruments as the DIP Term Loan Agent may reasonably request or as may be
               necessary or appropriate to create, preserve and perfect the Liens purported to be
               required pursuant to the Loan Documents to be created in the Collateral as collateral
               security for the payment of obligations, advances, debts or liabilities related to the
               Company’s obligations;

       (g)     such agreements with third parties (including, without limitation, bank agency
               agreements, motor vehicle perfection agreements, lockbox agreements, blocked
               account agreements, control agreements, credit card notices, customs broker
               agreements, landlord agreements and warehouse letters) relating to the Collateral;

       (h)     the Loan Documents (as defined in the DIP Term Loan Agreement);

       (i)     the Collateral Documents (as defined in the DIP Term Loan Agreement); and

       (j)     such other documents, agreements, instruments, certificates, notices, assignments
               and documents as may be reasonably requested by the DIP Term Loan Agent or
               required by the DIP Term Loan Agreement, the Collateral Documents or any other
               Loan Documents;

       RESOLVED, that the Company will receive value and obtain benefits from the incurrence
of the Loans and the other obligations under the DIP Term Loan Agreement and the Loan
Documents which are necessary and convenient to the conduct, promotion and attainment of the
business of the Company;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to grant a security interest and lien in all
of the Company’s assets pursuant to the terms of the Loan Documents, including, without
limitation, a pledge of all of the equity interests now owned or hereafter acquired by the Company
and all personal and real property of the Company now owned or hereafter acquired by the
Company, in each case, to the DIP Term Loan Agent, and the DIP Term Loan Agent is authorized
to file or record financing statements and other filing or recording documents or instruments with
respect to the Collateral without the signature of the Company in such form and in such offices as
the DIP Term Loan Agent or any Authorized Officer determines appropriate or necessary to perfect
the perfection of the security interests of the DIP Term Loan Agent under the DIP Term Loan
Agreement and the other Loan Documents. Without limiting the generality of the foregoing, the
DIP Term Loan Agent is expressly authorized to use a collateral description that encompasses “all
assets” or “all personal property” of the Company, wheresoever located, whether now owned and
existing or hereafter acquired, together with all proceeds thereof or any similar all assets
description in any such financing statements or other filing or recording documents or instruments;



                                                 7
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                  Document      Page 27 of 51


         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to take all such further actions including ,
without limitation, to pay all fees and expenses in accordance with the terms of the Loan
Documents, to arrange for and enter into supplemental agreements, amendments, instruments,
certificates or documents relating to the transactions contemplated by the DIP Term Loan
Agreement or any of the other Loan Documents and to execute and deliver all such supplemental
agreements, amendments, instruments, certificates or documents in the name and on behalf of the
Company, which shall in their sole judgment be necessary, proper or advisable in order to perform
the Company’s obligations under or in connection with the DIP Term Loan Agreement or any of
the other Loan Documents and the transactions contemplated therein, and which necessity or
advisability shall be conclusively evidenced by such Authorized Officer’s execution thereof, to
carry out fully the intent of the foregoing resolutions;

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendment and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions and extensions of
the DIP Term Loan Agreement and any of the Loan Documents which shall in their sole judgment
be necessary, proper or advisable;

        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Term Loan Agreement and any of
the other Loan Documents be, and hereby are, in all respects confirmed, approved and ratified;

       RESOLVED, that the capitalized terms used in the resolutions under the caption “Debtor-
In-Possession Term Loan Agreement” and not otherwise defined herein shall have the meanings
ascribed to such terms in the DIP Term Loan Agreement;

        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Term Loan Agreement and any
other instruments, agreements or documents related thereto entered into prior to, on or after the
date hereof, be, and hereby are, in all respects confirmed, approved and ratified;

Further Authorizations

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to prosecute the Chapter 11
Case in a manner that in their business judgment is likely to maximize the recovery for stakeholders
in the Company and minimize the obligations incurred by the Company;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to negotiate for and obtain
postpetition financing according to terms to be negotiated by management of the Company,
including under debtor-in-possession credit facilities, and to execute and deliver agreements
regarding the use of cash collateral or other similar arrangements, including, without limitation, to
enter into any guarantees and to pledge and grant liens on its assets as may be contemplated by or
required under the terms of such postpetition financing or cash collateral agreements or other
similar arrangements; and, in connection therewith, the Authorized Officers be, and each of them


                                                 8
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 28 of 51


hereby is, authorized, empowered, and directed to execute appropriate loan agreements,
guarantees, cash collateral agreements, and related ancillary documents;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company (i) to
file a chapter 11 plan or plans and attendant disclosure statements, and to prosecute and obtain
confirmation of such plan or plans in the Chapter 11 Case, and/or (ii) to sell some or substantially
all of the assets of the Company;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company to
enter into, execute, deliver, certify, file and/or record, and perform such agreements, instruments,
motions, affidavits, applications for approvals or ruling of governmental or regulatory authorities,
certificates, or other documents, and to take such other action, as in the business judgment of such
Authorized Officers shall be or becomes necessary, advisable, or appropriate, to effectuate a
successful reorganization of the Company, including a sale of some or substantially all of the
Company’s assets; to effectuate a restructuring of debt, other obligations, organizational form and
structure, and ownership of the Company; and to carry out and put into effect the purposes of the
foregoing Resolutions and the transactions contemplated by these Resolutions;

        RESOLVED, that in addition to the specific authorizations hereto conferred upon the
Authorized Officers or their designees, each of them hereby is authorized, directed, and
empowered, in the name of, and on behalf of, the Company, to take or cause to be taken any and
all such further actions, to execute and deliver any and all such agreements, certificates,
instruments, and other documents, and to pay all expenses, including filing fees, in each case as
such Authorized Officer or Authorized Officers shall determine in his, her, or their business
judgment to be necessary, advisable, or appropriate to fully carry out the intent and accomplish
the purposes of the Resolutions adopted herein, or to fully accomplish any and all actions taken in
connection with the Chapter 11 Case;

        RESOLVED, that Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to amend, supplement, or
otherwise modify, from time to time, the terms of any documents, certificates, instruments,
agreements, or other writings referred to in the foregoing Resolutions;

         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing Resolutions except that such acts were taken before these
Resolutions were adopted, are hereby in all respects approved, confirmed, and ratified; and




                                                 9
Case 19-30258-KLP        Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18          Desc Main
                                 Document      Page 29 of 51


        RESOLVED, that this Unanimous Written Consent of the Board of Directors of the
Company may be executed in any number of counterparts, including by facsimile or electronic
transmission, each of which when so executed and delivered shall be deemed an original, and such
counterparts shall together constitute one and the same instrument and shall be filed with the
minutes of the proceedings of the Board.

                        [Remainder of Page Intentionally Left Blank]




                                              10
Case 19-30258-KLP   Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18   Desc Main
                            Document      Page 30 of 51
Case 19-30258-KLP   Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18   Desc Main
                            Document      Page 31 of 51
Case 19-30258-KLP   Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18   Desc Main
                            Document      Page 32 of 51


                                    Exhibit A

       Written Consent of the Sole Member of Gymboree Retail Stores, LLC
                                  (See attached.)
Case 19-30258-KLP         Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                   Document      Page 33 of 51


                            GYMBOREE RETAIL STORES, LLC

                      WRITTEN CONSENT OF THE SOLE MEMBER

                                          January 15, 2019

        In accordance with Section 17704.07 of the California Revised Uniform Limited Liability
Company Act, as may be amended from time to time, and Section 12 of the Limited Liability
Company Agreement of Gymboree Retail Stores, LLC (f/k/a Gymboree Retail Stores, Inc.), a
California limited liability company (the “Company”), the undersigned, being the sole member of
the Company (the “Member”), hereby consents to, adopts, and approves the following resolutions
and each and every action effected thereby, effective as of the date first written above:

         WHEREAS, the Member has reviewed the materials presented by management and the
financial, legal, and other advisors of the Company and has held numerous discussions regarding
such materials and the liabilities, obligations, and liquidity situation (including current and future
liquidity needs) of the Company, the strategic alternatives available to the Company, and the
impact of the foregoing on the businesses and operations of the Company;

        WHEREAS, the Member has had the opportunity to consult with management and the
financial, legal, and other advisors of the Company and fully consider each of the strategic
alternatives available to the Company;

        WHEREAS, the Member has reviewed and considered the advice and recommendations
of the management of the Company and the Company’s financial, legal, and other advisors as to
the relative risks and benefits of filing for relief under the provisions of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”);

         WHEREAS, the Member has been presented with and reviewed the Asset Purchase
Agreement (the “Asset Purchase Agreement”), substantially on the terms presented to the Member,
to be entered into by and among (i) Gymboree Group, Inc., a Delaware corporation (“Gymboree
Group”), and the Gymboree Group subsidiaries, including the Company, signatory thereto
(collectively, the “Seller”), and (ii) Special Situations Investing Group, Inc., a Delaware
corporation (“Buyer”), pursuant to which, among other things, the Seller will sell, assign, and
transfer to Buyer, and Buyer will acquire, assume, and accept the transfer from Seller of, certain
contracts, lease agreements, intellectual property, and e-commerce assets and liabilities (as more
particularly described therein) on the terms and subject to the conditions set forth therein
(collectively, the “Sale”);

        WHEREAS, in furtherance of the transactions contemplated by the Asset Purchase
Agreement, the Member has determined that it is necessary and advisable for the Seller to execute
certain other documents, agreements, instruments, and certificates as may be contemplated or
required by the Asset Purchase Agreement (collectively, and including the Asset Purchase
Agreement and all schedules, exhibits, annexes, and attachments thereto, the “Transaction
Documents”); and




#4842-4700-1731
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 34 of 51


        WHEREAS, in the best judgment of the Member, the Member has determined that it is
desirable and in the best interests of the Seller and its creditors, equityholders, employees, and
other parties-in-interest, to enter into the Asset Purchase Agreement and the other Transaction
Documents and to execute, deliver, and consummate the transactions contemplated thereby,
including the Sale.

       NOW, THEREFORE, BE IT:

Approval of Filing of Bankruptcy Petition

        RESOLVED, that, in the best judgment of the Member, it is desirable and in the best
interests of the Company and its creditors, equityholders, employees, and other parties-in-interest,
that the Company file, or cause to be filed, a voluntary petition for relief under the provisions of
chapter 11 of the Bankruptcy Code (the case so commenced, the “Chapter 11 Case”);

         RESOLVED, that Shaz Kahng, President and Chief Executive Officer of the Company,
Jon Kimmins, Chief Financial Officer and Treasurer of the Company, Kimberly Holtz MacMillan,
Vice President, General Counsel, and Secretary of the Company, and any other officer of the
Company specifically designated by the foregoing officers (each, an “Authorized Officer” and
collectively, the “Authorized Officers”) be, and each of them hereby is, authorized, empowered,
and directed, in the name and on behalf of the Company, to (i) execute and file, or cause to be
executed and filed, with the United States Bankruptcy Court for the Eastern District of Virginia
(the “Bankruptcy Court”) at such time as any Authorized Officer executing the same shall
determine, all petitions, schedules, lists, motions, applications, pleadings, and other necessary
papers or documents, including any amendments thereto; and (ii) take any and all actions, and
perform any and all further deeds, that they deem necessary, advisable, or appropriate to obtain
relief under the provisions of chapter 11 of the Bankruptcy Code or in connection with the Chapter
11 Case, with a view to the successful prosecution of such Chapter 11 Case;

Retention of Advisors

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the law firm of
Milbank, Tweed, Hadley & McCloy LLP (“Milbank”) as general bankruptcy counsel to represent,
assist, and advise the Company in carrying out its duties under the Bankruptcy Code and to take
any and all actions to advance the Company’s rights and obligations, including filing any
pleadings, in connection with the Chapter 11 Case; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon filing of the Chapter
11 Case, and (iii) cause to be executed and filed an appropriate application with the Bankruptcy
Court for authority to retain the services of Milbank;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Kutak
Rock LLP (“Kutak”) as local counsel to represent and advise the Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance its rights and
obligations in connection with the Chapter 11 Case; and, in connection therewith, the Authorized


                                                 2
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                  Document      Page 35 of 51


Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of the Chapter
11 Cases, and (iii) cause to be executed and filed an appropriate application with the Bankruptcy
Court for authority to retain the services of Kutak;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ (i) Stifel, Nicolaus
& Company, Incorporated (“Stifel”) as investment banker and financial advisor and (ii) Berkeley
Research Group, LLC (“BRG”) as financial advisor, each to represent and assist the Company in
carrying out its duties under the Bankruptcy Code and to take any and all actions to advance the
Company’s rights and obligations in connection with the Chapter 11 Case; and, in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to (i) execute
appropriate retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon
the filing of the Chapter 11 Case, and (iii) cause to be executed and filed appropriate applications
with the Bankruptcy Court for authority to retain each of the services of Stifel and BRG;

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Prime
Clerk LLC (“Prime Clerk”) as claims, balloting, and noticing agent to represent and assist the
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance the Company’s rights and obligations; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of the
Chapter 11 Cases, and (iii) cause to be executed and filed an appropriate application with the
Bankruptcy Court for authority to retain the services of Prime Clerk;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Hilco
Real Estate, LLC (“Hilco”) as real estate consultant to represent and assist the Company in carrying
out its duties under the Bankruptcy Code; and, in connection therewith, the Authorized Officers
be, and each of them hereby is, authorized, empowered, and directed to (i) execute appropriate
retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of
the Chapter 11 Case, and (iii) cause to be filed appropriate applications with the Bankruptcy Court
for authority to retain the services of Hilco;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed to employ any other professionals, including, without limitation ,
attorneys, financial advisors, investment bankers, accountants, tax advisors, and claims agents, as
they deem necessary, advisable, or appropriate, in their sole discretion, to assist the Company in
carrying out its duties under the Bankruptcy Code; and, in connection therewith, the Authorized
Officers be, and each of them hereby is, authorized, empowered, and directed to (i) execute
appropriate retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon
the filing of the Chapter 11 Case, and (iii) cause to be filed appropriate applications with the
Bankruptcy Court for authority to retain the services of any other professionals as they shall, in
their business judgment, deem necessary, advisable, or appropriate;




                                                 3
Case 19-30258-KLP        Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                 Document      Page 36 of 51


Approval of Asset Purchase Agreement

        RESOLVED, that (i) the Sale, (ii) the form, terms, and provisions of the Asset Purchase
Agreement and each of the other Transaction Documents, with such modifications to the
Transaction Documents as the Authorized Officers shall approve (including, without limitation ,
any additions, deletions, or changes to the Asset Purchase Agreement or any additions, deletions,
or changes to any schedules, exhibits, annexes, and attachments thereto), and (iii) the execution,
delivery, and performance of the transactions contemplated by the Asset Purchase Agreement and
each of the other Transaction Documents, in each case, are hereby authorized, approved, ratified,
and confirmed in all respects;

        RESOLVED, that the Authorized Officers are hereby authorized, empowered, and
directed, in the name and on behalf of the Seller, to execute, deliver, and perform each of the
Transaction Documents and the transactions contemplated thereby, and any and all such other
documents, agreements and instruments as may be deemed necessary or advisable in order to carry
out the purpose and intent of the foregoing Resolutions, in each case, with such Authorized
Officer’s execution or action to be conclusive evidence of the exercise by such Authorized Officer
of the discretionary authority herein conferred;

Debtor-In-Possession Term Loan Agreement

        WHEREAS, Gymboree Group (the “Lead Borrower”), the other Borrowers party thereto
from time to time, Gymboree Intermediate Corporation, a Delaware corporation (“Intermediate”),
the other Guarantors party thereto from time to time, each a debtor and debtor-in-possession
(together with Intermediate, the “Guarantors”) in cases pending under Chapter 11 of the
Bankruptcy Code, the Lenders and Special Situations Investing Group, Inc., as administrative
agent (in such capacity, including any successor thereof, the “Administrative Agent”) and as
collateral agent (in such capacity, including any successor thereof, the “Collateral Agent”, and
together with the Administrative Agent, the “DIP Term Loan Agent”) for the Lenders, propose to
enter into that certain Debtor-in-Possession Term Loan Agreement (the “DIP Term Loan
Agreement”), dated as of the date hereof;

        WHEREAS, the obligation of the Lenders to make each Loan to the Borrower under the
DIP Term Loan Agreement is subject to the Company having satisfied certain conditions described
in the DIP Term Loan Agreement;

       WHEREAS, the Company will receive benefits from the receipt of the Loans made by the
Lenders under the DIP Term Loan Agreement; and

         WHEREAS, it is in the best interests of the Company to enter into the DIP Term Loan
Agreement and each agreement, document, instrument, certificate, recording and filing relating
thereto.

       RESOLVED, that the form, terms and provisions of the DIP Term Loan Agreement and
each of the other Loan Documents (as defined below), and the Company’s incurrence and
performance of its obligations under the DIP Term Loan Agreement (including, without limitation ,
the “Obligations”, as defined therein) and each of the other Loan Documents (as defined below),


                                                4
Case 19-30258-KLP        Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                 Document      Page 37 of 51


including any borrowings of Loans in such amounts as may be available to it from time to time
thereunder and the consummation of the transactions contemplated thereby, be, and hereby are, in
all respects, authorized and approved; and further resolved, that the Company’s Authorized
Officers, acting alone or with one or more Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver, and to cause the Company to incur and perform its obligations
under, the DIP Term Loan Agreement and each of the instruments and documents listed below
and all other agreements, documents and instruments contemplated by any of the foregoing or
requested by the DIP Term Loan Agent in connection with any of the foregoing (together with the
DIP Term Loan Agreement, the “Loan Documents”), and each of the documents and instruments
contemplated thereby, in the name and on behalf of the Company under its seal or otherwise,
substantially in the forms presented to the Member, with such changes therein and modifications
and amendments thereto as any Authorized Officer may in his or her sole discretion approve, which
approval shall be conclusively evidenced by his or her execution thereof:

       (a)    the Fee Letter;

       (b)    the Security Agreement;

       (c)    the Orders;

       (d)    any intercreditor agreement;

       (e)    UCC financing statements, fixture filings, and other instruments as may be
              reasonably requested by the DIP Term Loan Agent or as may be necessary or
              appropriate to create, preserve and perfect the security interests purported to be
              created by the Collateral Documents;

       (f)    such other security agreements, pledge agreements, deeds of trust, mortgages,
              notices, financing statements, tax affidavits, reaffirmation agreements, and other
              instruments as the DIP Term Loan Agent may reasonably request or as may be
              necessary or appropriate to create, preserve and perfect the Liens purported to be
              required pursuant to the Loan Documents to be created in the Collateral as collateral
              security for the payment of obligations, advances, debts or liabilities related to the
              Company’s obligations;

       (g)    such agreements with third parties (including, without limitation, bank agency
              agreements, motor vehicle perfection agreements, lockbox agreements, blocked
              account agreements, control agreements, credit card notices, customs broker
              agreements, landlord agreements and warehouse letters) relating to the Collateral;

       (h)    the Loan Documents (as defined in the DIP Term Loan Agreement);

       (i)    the Collateral Documents (as defined in the DIP Term Loan Agreement); and

       (j)    such other documents, agreements, instruments, certificates, notices, assignments
              and documents as may be reasonably requested by the DIP Term Loan Agent or
              required by the DIP Term Loan Agreement, the Collateral Documents or any other
              Loan Documents;


                                                5
Case 19-30258-KLP        Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18           Desc Main
                                  Document      Page 38 of 51


       RESOLVED, that the Company will receive value and obtain benefits from the incurrence
of the Loans and the other obligations under the DIP Term Loan Agreement and the Loan
Documents which are necessary and convenient to the conduct, promotion and attainment of the
business of the Company;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to grant a security interest and lien in all
of the Company’s assets pursuant to the terms of the Loan Documents, including, without
limitation, a pledge of all of the equity interests now owned or hereafter acquired by the Company
and all personal and real property of the Company now owned or hereafter acquired by the
Company, in each case, to the DIP Term Loan Agent, and the DIP Term Loan Agent is authorized
to file or record financing statements and other filing or recording documents or instruments with
respect to the Collateral without the signature of the Company in such form and in such offices as
the DIP Term Loan Agent or any Authorized Officer determines appropriate or necessary to perfect
the perfection of the security interests of the DIP Term Loan Agent under the DIP Term Loan
Agreement and the other Loan Documents. Without limiting the generality of the foregoing, the
DIP Term Loan Agent is expressly authorized to use a collateral description that encompasses “all
assets” or “all personal property” of the Company, wheresoever located, whether now owned and
existing or hereafter acquired, together with all proceeds thereof or any similar all assets
description in any such financing statements or other filing or recording documents or instruments;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to take all such further actions including ,
without limitation, to pay all fees and expenses in accordance with the terms of the Loan
Documents, to arrange for and enter into supplemental agreements, amendments, instruments,
certificates or documents relating to the transactions contemplated by the DIP Term Loan
Agreement or any of the other Loan Documents and to execute and deliver all such supplemental
agreements, amendments, instruments, certificates or documents in the name and on behalf of the
Company, which shall in their sole judgment be necessary, proper or advisable in order to perform
the Company’s obligations under or in connection with the DIP Term Loan Agreement or any of
the other Loan Documents and the transactions contemplated therein, and which necessity or
advisability shall be conclusively evidenced by such Authorized Officer’s execution thereof, to
carry out fully the intent of the foregoing resolutions;

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendment and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions and extensions of
the DIP Term Loan Agreement and any of the Loan Documents which shall in their sole judgment
be necessary, proper or advisable;

        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Term Loan Agreement and any of
the other Loan Documents be, and hereby are, in all respects confirmed, approved and ratified;

       RESOLVED, that the capitalized terms used in the resolutions under the caption “Debtor-
In-Possession Term Loan Agreement” and not otherwise defined herein shall have the meanings
ascribed to such terms in the DIP Term Loan Agreement;


                                                6
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                  Document      Page 39 of 51


        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Term Loan Agreement and any
other instruments, agreements or documents related thereto entered into prior to, on or after the
date hereof, be, and hereby are, in all respects confirmed, approved and ratified;

Further Authorizations

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to prosecute the Chapter 11
Case in a manner that in their business judgment is likely to maximize the recovery for stakeholders
in the Company and minimize the obligations incurred by the Company;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to negotiate for and obtain
postpetition financing according to terms to be negotiated by management of the Company,
including under debtor-in-possession credit facilities, and to execute and deliver agreements
regarding the use of cash collateral or other similar arrangements, including, without limitation, to
enter into any guarantees and to pledge and grant liens on its assets as may be contemplated by or
required under the terms of such postpetition financing or cash collateral agreements or other
similar arrangements; and, in connection therewith, the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to execute appropriate loan agreements,
guarantees, cash collateral agreements, and related ancillary documents;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company (i) to
file a chapter 11 plan or plans and attendant disclosure statements, and to prosecute and obtain
confirmation of such plan or plans in the Chapter 11 Case, and/or (ii) to sell some or substantially
all of the assets of the Company;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company to
enter into, execute, deliver, certify, file and/or record, and perform such agreements, instruments,
motions, affidavits, applications for approvals or ruling of governmental or regulatory authorities,
certificates, or other documents, and to take such other action, as in the business judgment of such
Authorized Officers shall be or becomes necessary, advisable, or appropriate, to effectuate a
successful reorganization of the Company, including a sale of some or substantially all of the
Company’s assets; to effectuate a restructuring of debt, other obligations, organizational form and
structure, and ownership of the Company; and to carry out and put into effect the purposes of the
foregoing Resolutions and the transactions contemplated by these Resolutions;

        RESOLVED, that in addition to the specific authorizations hereto conferred upon the
Authorized Officers or their designees, each of them hereby is authorized, directed, and
empowered, in the name of, and on behalf of, the Company, to take or cause to be taken any and
all such further actions, to execute and deliver any and all such agreements, certificates,
instruments, and other documents, and to pay all expenses, including filing fees, in each case as
such Authorized Officer or Authorized Officers shall determine in his, her, or their business
judgment to be necessary, advisable, or appropriate to fully carry out the intent and accomplish


                                                 7
Case 19-30258-KLP        Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 40 of 51


the purposes of the Resolutions adopted herein, or to fully accomplish any and all actions taken in
connection with the Chapter 11 Case;

        RESOLVED, that Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to amend, supplement, or
otherwise modify, from time to time, the terms of any documents, certificates, instruments,
agreements, or other writings referred to in the foregoing Resolutions;

         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing Resolutions except that such acts were taken before these
Resolutions were adopted, are hereby in all respects approved, confirmed, and ratified; and

         RESOLVED, that this Written Consent of the Sole Member of the Company may be
executed in any number of counterparts, including by facsimile or electronic transmission, each of
which when so executed and delivered shall be deemed an original, and such counterparts shall
together constitute one and the same instrument.

                         [Remainder of Page Intentionally Left Blank]




                                                8
Case 19-30258-KLP       Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18              Desc Main
                                 Document      Page 41 of 51


         IN WITNESS WHEREOF, the undersigned has duly executed this Written Consent of
the Sole Member as of the date first set forth above.


                                             SOLE MEMBER

                                             Gymboree Group, Inc.



                                             By: ________________________________
                                             Name: Jon W. Kimmins
                                             Title: Chief Financial Officer and Treasurer




       [Signature Page to Written Consent of the Sole Member of Gymboree Retail Stores, LLC]
Case 19-30258-KLP   Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18   Desc Main
                            Document      Page 42 of 51


                                    Exhibit B

          Written Consent of the Sole Member of Gymboree Island, LLC
                                  (See attached.)
Case 19-30258-KLP         Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                   Document      Page 43 of 51


                                  GYMBOREE ISLAND, LLC

                      WRITTEN CONSENT OF THE SOLE MEMBER

                                          January 15, 2019

       In accordance with Section 19.18(D) of Chapter 19 of the General Corporations Act of
Puerto Rico, as may be amended from time to time, and Section 11 of the Operating Agreement
of Gymboree Island, LLC, a limited liability company organized under the laws of the
Commonwealth of Puerto Rico (the “Company”), as amended, modified, or supplemented from
time to time, and dated as of August 30, 2007, the undersigned, being the sole member of the
Company (the “Member”), hereby consents to, adopts, and approves the following resolutions and
each and every action effected thereby, effective as of the date first written above:

         WHEREAS, the Member has reviewed the materials presented by management and the
financial, legal, and other advisors of the Company and has held numerous discussions regarding
such materials and the liabilities, obligations, and liquidity situation (including current and future
liquidity needs) of the Company, the strategic alternatives available to the Company, and the
impact of the foregoing on the businesses and operations of the Company;

        WHEREAS, the Member has had the opportunity to consult with management and the
financial, legal, and other advisors of the Company and fully consider each of the strategic
alternatives available to the Company;

        WHEREAS, the Member has reviewed and considered the advice and recommendations
of the management of the Company and the Company’s financial, legal, and other advisors as to
the relative risks and benefits of filing for relief under the provisions of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”);

         WHEREAS, the Member has been presented with and reviewed the Asset Purchase
Agreement (the “Asset Purchase Agreement”), substantially on the terms presented to the Member,
to be entered into by and among (i) Gymboree Group, Inc., a Delaware corporation (“Gymboree
Group”), and the Gymboree Group subsidiaries, including the Company, signatory thereto
(collectively, the “Seller”), and (ii) Special Situations Investing Group, Inc., a Delaware
corporation (“Buyer”), pursuant to which, among other things, the Seller will sell, assign, and
transfer to Buyer, and Buyer will acquire, assume, and accept the transfer from Seller of, certain
contracts, lease agreements, intellectual property, and e-commerce assets and liabilities (as more
particularly described therein) on the terms and subject to the conditions set forth therein
(collectively, the “Sale”);

        WHEREAS, in furtherance of the transactions contemplated by the Asset Purchase
Agreement, the Member has determined that it is necessary and advisable for the Seller to execute
certain other documents, agreements, instruments, and certificates as may be contemplated or
required by the Asset Purchase Agreement (collectively, and including the Asset Purchase
Agreement and all schedules, exhibits, annexes, and attachments thereto, the “Transaction
Documents”); and



#4823-7706-8419
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 44 of 51


        WHEREAS, in the best judgment of the Member, the Member has determined that it is
desirable and in the best interests of the Seller and its creditors, equityholders, employees, and
other parties-in-interest, to enter into the Asset Purchase Agreement and the other Transaction
Documents and to execute, deliver, and consummate the transactions contemplated thereby,
including the Sale.

       NOW, THEREFORE, BE IT:

Approval of Filing of Bankruptcy Petition

        RESOLVED, that, in the best judgment of the Member, it is desirable and in the best
interests of the Company and its creditors, equityholders, employees, and other parties-in-interest,
that the Company file, or cause to be filed, a voluntary petition for relief under the provisions of
chapter 11 of the Bankruptcy Code (the case so commenced, the “Chapter 11 Case”);

         RESOLVED, that Shaz Kahng, President and Chief Executive Officer of the Company,
Jon Kimmins, Chief Financial Officer and Treasurer of the Company, Kimberly Holtz MacMillan,
Vice President, General Counsel, and Secretary of the Company, and any other officer of the
Company specifically designated by the foregoing officers (each, an “Authorized Officer” and
collectively, the “Authorized Officers”) be, and each of them hereby is, authorized, empowered,
and directed, in the name and on behalf of the Company, to (i) execute and file, or cause to be
executed and filed, with the United States Bankruptcy Court for the Eastern District of Virginia
(the “Bankruptcy Court”) at such time as any Authorized Officer executing the same shall
determine, all petitions, schedules, lists, motions, applications, pleadings, and other necessary
papers or documents, including any amendments thereto; and (ii) take any and all actions, and
perform any and all further deeds, that they deem necessary, advisable, or appropriate to obtain
relief under the provisions of chapter 11 of the Bankruptcy Code or in connection with the Chapter
11 Case, with a view to the successful prosecution of such Chapter 11 Case;

Retention of Advisors

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the law firm of
Milbank, Tweed, Hadley & McCloy LLP (“Milbank”) as general bankruptcy counsel to represent,
assist, and advise the Company in carrying out its duties under the Bankruptcy Code and to take
any and all actions to advance the Company’s rights and obligations, including filing any
pleadings, in connection with the Chapter 11 Case; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon filing of the Chapter
11 Case, and (iii) cause to be executed and filed an appropriate application with the Bankruptcy
Court for authority to retain the services of Milbank;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Kutak
Rock LLP (“Kutak”) as local counsel to represent and advise the Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance its rights and
obligations in connection with the Chapter 11 Case; and, in connection therewith, the Authorized


                                                 2
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                  Document      Page 45 of 51


Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of the Chapter
11 Cases, and (iii) cause to be executed and filed an appropriate application with the Bankruptcy
Court for authority to retain the services of Kutak;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ (i) Stifel, Nicolaus
& Company, Incorporated (“Stifel”) as investment banker and financial advisor and (ii) Berkeley
Research Group, LLC (“BRG”) as financial advisor, each to represent and assist the Company in
carrying out its duties under the Bankruptcy Code and to take any and all actions to advance the
Company’s rights and obligations in connection with the Chapter 11 Case; and, in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to (i) execute
appropriate retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon
the filing of the Chapter 11 Case, and (iii) cause to be executed and filed appropriate applications
with the Bankruptcy Court for authority to retain each of the services of Stifel and BRG;

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Prime
Clerk LLC (“Prime Clerk”) as claims, balloting, and noticing agent to represent and assist the
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance the Company’s rights and obligations; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed to (i) execute appropriate retention
agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of the
Chapter 11 Cases, and (iii) cause to be executed and filed an appropriate application with the
Bankruptcy Court for authority to retain the services of Prime Clerk;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to employ the firm of Hilco
Real Estate, LLC (“Hilco”) as real estate consultant to represent and assist the Company in carrying
out its duties under the Bankruptcy Code; and, in connection therewith, the Authorized Officers
be, and each of them hereby is, authorized, empowered, and directed to (i) execute appropriate
retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon the filing of
the Chapter 11 Case, and (iii) cause to be filed appropriate applications with the Bankruptcy Court
for authority to retain the services of Hilco;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed to employ any other professionals, including, without limitation ,
attorneys, financial advisors, investment bankers, accountants, tax advisors, and claims agents, as
they deem necessary, advisable, or appropriate, in their sole discretion, to assist the Company in
carrying out its duties under the Bankruptcy Code; and, in connection therewith, the Authorized
Officers be, and each of them hereby is, authorized, empowered, and directed to (i) execute
appropriate retention agreements, (ii) pay appropriate retainers prior to and/or immediately upon
the filing of the Chapter 11 Case, and (iii) cause to be filed appropriate applications with the
Bankruptcy Court for authority to retain the services of any other professionals as they shall, in
their business judgment, deem necessary, advisable, or appropriate;




                                                 3
Case 19-30258-KLP        Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                 Document      Page 46 of 51


Approval of Asset Purchase Agreement

        RESOLVED, that (i) the Sale, (ii) the form, terms, and provisions of the Asset Purchase
Agreement and each of the other Transaction Documents, with such modifications to the
Transaction Documents as the Authorized Officers shall approve (including, without limitation ,
any additions, deletions, or changes to the Asset Purchase Agreement or any additions, deletions,
or changes to any schedules, exhibits, annexes, and attachments thereto), and (iii) the execution,
delivery, and performance of the transactions contemplated by the Asset Purchase Agreement and
each of the other Transaction Documents, in each case, are hereby authorized, approved, ratified,
and confirmed in all respects;

        RESOLVED, that the Authorized Officers are hereby authorized, empowered, and
directed, in the name and on behalf of the Seller, to execute, deliver, and perform each of the
Transaction Documents and the transactions contemplated thereby, and any and all such other
documents, agreements and instruments as may be deemed necessary or advisable in order to carry
out the purpose and intent of the foregoing Resolutions, in each case, with such Authorized
Officer’s execution or action to be conclusive evidence of the exercise by such Authorized Officer
of the discretionary authority herein conferred;

Debtor-In-Possession Term Loan Agreement

        WHEREAS, Gymboree Group (the “Lead Borrower”), the other Borrowers party thereto
from time to time, Gymboree Intermediate Corporation, a Delaware corporation (“Intermediate”),
the other Guarantors party thereto from time to time, each a debtor and debtor-in-possession
(together with Intermediate, the “Guarantors”) in cases pending under Chapter 11 of the
Bankruptcy Code, the Lenders and Special Situations Investing Group, Inc., as administrative
agent (in such capacity, including any successor thereof, the “Administrative Agent”) and as
collateral agent (in such capacity, including any successor thereof, the “Collateral Agent”, and
together with the Administrative Agent, the “DIP Term Loan Agent”) for the Lenders, propose to
enter into that certain Debtor-in-Possession Term Loan Agreement (the “DIP Term Loan
Agreement”), dated as of the date hereof;

        WHEREAS, the obligation of the Lenders to make each Loan to the Borrower under the
DIP Term Loan Agreement is subject to the Company having satisfied certain conditions described
in the DIP Term Loan Agreement;

       WHEREAS, the Company will receive benefits from the receipt of the Loans made by the
Lenders under the DIP Term Loan Agreement; and

         WHEREAS, it is in the best interests of the Company to enter into the DIP Term Loan
Agreement and each agreement, document, instrument, certificate, recording and filing relating
thereto.

       RESOLVED, that the form, terms and provisions of the DIP Term Loan Agreement and
each of the other Loan Documents (as defined below), and the Company’s incurrence and
performance of its obligations under the DIP Term Loan Agreement (including, without limitation ,
the “Obligations”, as defined therein) and each of the other Loan Documents (as defined below),


                                                4
Case 19-30258-KLP        Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                 Document      Page 47 of 51


including any borrowings of Loans in such amounts as may be available to it from time to time
thereunder and the consummation of the transactions contemplated thereby, be, and hereby are, in
all respects, authorized and approved; and further resolved, that the Company’s Authorized
Officers, acting alone or with one or more Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver, and to cause the Company to incur and perform its obligations
under, the DIP Term Loan Agreement and each of the instruments and documents listed below
and all other agreements, documents and instruments contemplated by any of the foregoing or
requested by the DIP Term Loan Agent in connection with any of the foregoing (together with the
DIP Term Loan Agreement, the “Loan Documents”), and each of the documents and instruments
contemplated thereby, in the name and on behalf of the Company under its seal or otherwise,
substantially in the forms presented to the Member, with such changes therein and modifications
and amendments thereto as any Authorized Officer may in his or her sole discretion approve, which
approval shall be conclusively evidenced by his or her execution thereof:

       (a)    the Fee Letter;

       (b)    the Security Agreement;

       (c)    the Orders;

       (d)    any intercreditor agreement;

       (e)    UCC financing statements, fixture filings, and other instruments as may be
              reasonably requested by the DIP Term Loan Agent or as may be necessary or
              appropriate to create, preserve and perfect the security interests purported to be
              created by the Collateral Documents;

       (f)    such other security agreements, pledge agreements, deeds of trust, mortgages,
              notices, financing statements, tax affidavits, reaffirmation agreements, and other
              instruments as the DIP Term Loan Agent may reasonably request or as may be
              necessary or appropriate to create, preserve and perfect the Liens purported to be
              required pursuant to the Loan Documents to be created in the Collateral as collateral
              security for the payment of obligations, advances, debts or liabilities related to the
              Company’s obligations;

       (g)    such agreements with third parties (including, without limitation, bank agency
              agreements, motor vehicle perfection agreements, lockbox agreements, blocked
              account agreements, control agreements, credit card notices, customs broker
              agreements, landlord agreements and warehouse letters) relating to the Collateral;

       (h)    the Loan Documents (as defined in the DIP Term Loan Agreement);

       (i)    the Collateral Documents (as defined in the DIP Term Loan Agreement); and

       (j)    such other documents, agreements, instruments, certificates, notices, assignments
              and documents as may be reasonably requested by the DIP Term Loan Agent or
              required by the DIP Term Loan Agreement, the Collateral Documents or any other
              Loan Documents;


                                                5
Case 19-30258-KLP        Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18           Desc Main
                                  Document      Page 48 of 51


       RESOLVED, that the Company will receive value and obtain benefits from the incurrence
of the Loans and the other obligations under the DIP Term Loan Agreement and the Loan
Documents which are necessary and convenient to the conduct, promotion and attainment of the
business of the Company;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to grant a security interest and lien in all
of the Company’s assets pursuant to the terms of the Loan Documents, including, without
limitation, a pledge of all of the equity interests now owned or hereafter acquired by the Company
and all personal and real property of the Company now owned or hereafter acquired by the
Company, in each case, to the DIP Term Loan Agent, and the DIP Term Loan Agent is authorized
to file or record financing statements and other filing or recording documents or instruments with
respect to the Collateral without the signature of the Company in such form and in such offices as
the DIP Term Loan Agent or any Authorized Officer determines appropriate or necessary to perfect
the perfection of the security interests of the DIP Term Loan Agent under the DIP Term Loan
Agreement and the other Loan Documents. Without limiting the generality of the foregoing, the
DIP Term Loan Agent is expressly authorized to use a collateral description that encompasses “all
assets” or “all personal property” of the Company, wheresoever located, whether now owned and
existing or hereafter acquired, together with all proceeds thereof or any similar all assets
description in any such financing statements or other filing or recording documents or instruments;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to take all such further actions including ,
without limitation, to pay all fees and expenses in accordance with the terms of the Loan
Documents, to arrange for and enter into supplemental agreements, amendments, instruments,
certificates or documents relating to the transactions contemplated by the DIP Term Loan
Agreement or any of the other Loan Documents and to execute and deliver all such supplemental
agreements, amendments, instruments, certificates or documents in the name and on behalf of the
Company, which shall in their sole judgment be necessary, proper or advisable in order to perform
the Company’s obligations under or in connection with the DIP Term Loan Agreement or any of
the other Loan Documents and the transactions contemplated therein, and which necessity or
advisability shall be conclusively evidenced by such Authorized Officer’s execution thereof, to
carry out fully the intent of the foregoing resolutions;

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendment and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions and extensions of
the DIP Term Loan Agreement and any of the Loan Documents which shall in their sole judgment
be necessary, proper or advisable;

        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Term Loan Agreement and any of
the other Loan Documents be, and hereby are, in all respects confirmed, approved and ratified;

       RESOLVED, that the capitalized terms used in the resolutions under the caption “Debtor-
In-Possession Term Loan Agreement” and not otherwise defined herein shall have the meanings
ascribed to such terms in the DIP Term Loan Agreement;


                                                6
Case 19-30258-KLP         Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18             Desc Main
                                  Document      Page 49 of 51


        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Term Loan Agreement and any
other instruments, agreements or documents related thereto entered into prior to, on or after the
date hereof, be, and hereby are, in all respects confirmed, approved and ratified;

Further Authorizations

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to prosecute the Chapter 11
Case in a manner that in their business judgment is likely to maximize the recovery for stakeholders
in the Company and minimize the obligations incurred by the Company;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to negotiate for and obtain
postpetition financing according to terms to be negotiated by management of the Company,
including under debtor-in-possession credit facilities, and to execute and deliver agreements
regarding the use of cash collateral or other similar arrangements, including, without limitation, to
enter into any guarantees and to pledge and grant liens on its assets as may be contemplated by or
required under the terms of such postpetition financing or cash collateral agreements or other
similar arrangements; and, in connection therewith, the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to execute appropriate loan agreements,
guarantees, cash collateral agreements, and related ancillary documents;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company (i) to
file a chapter 11 plan or plans and attendant disclosure statements, and to prosecute and obtain
confirmation of such plan or plans in the Chapter 11 Case, and/or (ii) to sell some or substantially
all of the assets of the Company;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company to
enter into, execute, deliver, certify, file and/or record, and perform such agreements, instruments,
motions, affidavits, applications for approvals or ruling of governmental or regulatory authorities,
certificates, or other documents, and to take such other action, as in the business judgment of such
Authorized Officers shall be or becomes necessary, advisable, or appropriate, to effectuate a
successful reorganization of the Company, including a sale of some or substantially all of the
Company’s assets; to effectuate a restructuring of debt, other obligations, organizational form and
structure, and ownership of the Company; and to carry out and put into effect the purposes of the
foregoing Resolutions and the transactions contemplated by these Resolutions;

        RESOLVED, that in addition to the specific authorizations hereto conferred upon the
Authorized Officers or their designees, each of them hereby is authorized, directed, and
empowered, in the name of, and on behalf of, the Company, to take or cause to be taken any and
all such further actions, to execute and deliver any and all such agreements, certificates,
instruments, and other documents, and to pay all expenses, including filing fees, in each case as
such Authorized Officer or Authorized Officers shall determine in his, her, or their business
judgment to be necessary, advisable, or appropriate to fully carry out the intent and accomplish


                                                 7
Case 19-30258-KLP        Doc 1     Filed 01/17/19 Entered 01/17/19 01:22:18            Desc Main
                                  Document      Page 50 of 51


the purposes of the Resolutions adopted herein, or to fully accomplish any and all actions taken in
connection with the Chapter 11 Case;

        RESOLVED, that Authorized Officers be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to amend, supplement, or
otherwise modify, from time to time, the terms of any documents, certificates, instruments,
agreements, or other writings referred to in the foregoing Resolutions;

         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing Resolutions except that such acts were taken before these
Resolutions were adopted, are hereby in all respects approved, confirmed, and ratified; and

         RESOLVED, that this Written Consent of the Sole Member of the Company may be
executed in any number of counterparts, including by facsimile or electronic transmission, each of
which when so executed and delivered shall be deemed an original, and such counterparts shall
together constitute one and the same instrument.

                         [Remainder of Page Intentionally Left Blank]




                                                8
Case 19-30258-KLP       Doc 1    Filed 01/17/19 Entered 01/17/19 01:22:18                  Desc Main
                                Document      Page 51 of 51


         IN WITNESS WHEREOF, the undersigned has duly executed this Written Consent of
the Sole Member of the Company as of the date first set forth above.


                                             SOLE MEMBER

                                             Gymboree Group, Inc.



                                             By: ________________________________
                                             Name: Jon W. Kimmins
                                             Title: Chief Financial Officer and Treasurer




          [Signature Page to Written Consent of the Sole Member of Gymboree Island, LLC]
